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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                         )
In re:                                                   )    Chapter 11
                                                         )
GIGAMONSTER NETWORKS, LLC, et al.,1                      )    Case No. 23-10051 (JKS)
                                                         )
                                    Debtors.             )    (Jointly Administered)
                                                         )
                                                         )    Related to Docket No. 436

              CERTIFICATE OF NO OBJECTION (NO ORDER REQUIRED)
     REGARDING THE SECOND MONTHLY APPLICATION FOR COMPENSATION
    AND REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES
     LLP, AS COUNSEL FOR THE DEBTORS AND DEBTORS IN POSSESSTION, FOR
           THE PERIOD FROM MARCH 1, 2023 THROUGH MARCH 31, 2023

                 The undersigned hereby certifies that:

                 1.          Pachulski Stang Ziehl & Jones LLP (“PSZJ”), counsel to the above-

captioned debtors and debtors in possession (collectively, the “Debtors”), filed and served the

Third Monthly Application for Compensation and Reimbursement of Expenses of Pachulski

Stang Ziehl & Jones LLP, as Counsel for the Debtors and Debtors in Possession, for the Period

from March 1, 2023 through March 31, 2023 [Docket No. 436] (the “Application”).

                 2.          Objections to the Application were to be filed and served no later than

July 31, 2023 by 4:00 p.m. (prevailing Eastern Time). The undersigned has caused the

Bankruptcy Court’s docket in this case to be reviewed, and no answer, objection or other

responsive pleadings to the Application appears thereon. Additionally, no objections to the

Application have been received by the undersigned counsel.




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     The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are:
     GigaMonster Networks, LLC (2854); Gigasphere Holdings LLC (0250); GigaMonster, LLC (3014);
     Fibersphere Communications LLC (0163); and Fibersphere Communications of California LLC (5088). The
     Debtors’ business address is 350 Franklin Gateway, Suite 300, Marietta, GA 30067.


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                 3.          Pursuant to the Order Establishing Procedures for Interim Compensation

and Reimbursement of Expenses of Professionals (the “Order”) [Docket No. 122], the Debtors

are authorized to pay PSZJ $756,938.47, which is comprised of $747,332.20 in requested fees

(80% of $943,771.52), and $9,606.27 in requested expenses (100%) for the period from

March 1, 2023 through March 31, 2023, upon the filing of this certificate of no objection and

without the need for entry of a Bankruptcy Court order approving the Application.


Dated: August 2, 2023                             PACHULSKI STANG ZIEHL & JONES LLP


                                                  /s/ Laura Davis Jones
                                                  Laura Davis Jones (DE Bar No. 2436)
                                                  David M. Bertenthal (CA Bar No. 167624)
                                                  Timothy P. Cairns (DE Bar No. 4228)
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                                                  Counsel for the Debtors and Debtors-in-Possession




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